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11
                         IN THE UNITED STATES DISTRICT COURT
12                     FOR THE EASTERN DISTRICT OF CALIFORNIA
13
14
                                                     No. 1:20-cr-0238 JLT SKO
     UNITED STATES OF AMERICA,
15
                 Plaintiff,                          STIPULATION TO SHORTEN TIME
16                                                   FOR NOTICING OF HEARING ORDER
            v.
17
18   EVAN PERKINS,
19                Defendant.
20
21
22          Defendant Evan Perkins, though his counsel Cristina Bordé and Theresa M. Duncan,

23   and the government, through its counsel Stephanie M. Stokman and James Connolly, stipulate
24   and agree to shorten the notice requirements of L.R. 430.1(e) by one day and to set a hearing
25
     on Mr. Perkins’ motion to continue and sever trial (Doc. 1340) for November 18, 2024, at
26
       Case 1:20-cr-00238-JLT-SKO Document 1363 Filed 11/06/24 Page 2 of 2




 1   9:00a.m. before the Honorable Jennifer L. Thurston in Courtroom 4. Counsel further stipulates
 2   to the following briefing schedule:
 3
             The government’s opposition to Mr. Perkins’ motion for continuance and severance is
 4
     due no later than November 12, 2024.
 5
 6           The defense’s reply to the government’s opposition is due no later than November 14,

 7   2024.
 8                                               Respectfully Submitted,
 9
                                                 /s/ Theresa M. Duncan
10                                               THERESA M. DUNCAN

11                                               /s/ Cristina Bordé
                                                 CRISTINA BORDÉ
12
13                                               Attorneys for Defendant Evan Perkins

14                                               Stephanie M. Stokman
                                                 STEPHANIE M. STOKMAN
15
16                                               James Conolly
                                                 JAMES CONOLLY
17
                                                 Attorneys for the United States
18
19
20
21
     IT IS SO ORDERED.
22
        Dated:     November 6, 2024
23
24
25
26
                                                    2
